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 3
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 4   Telephone: (415) 398-3900

 5   Attorneys for Defendant Alex Hernandez

 6
                         UNITED STATES DISTRICT COURT
 7                      EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,        )      CR S CR 07-515-WBS
                                      )
10              Plaintiff,            )
                                      )
11   v.                               )      STIPULATION      RE-SCHEDULING
                                      )      SENTENCING      HEARING    AND
12                                    )      [PROPOSED] ORDER THEREON
     ALEX HERNANDEZ,                  )
13                                    )
                Defendant.            )
14
                                      )
15                                    )

16
          Defendant Alex Hernandez, by and through his attorney of
17
     record,   David   J.   Cohen,   Esq.,    and   Assistant   United   States
18
     Attorney, Michael M. Beckwith, Esq., after due consultation with
19
     Supervising United States Probation Officer Hugo Ortiz, jointly
20
21   request an extension of time for the sentencing hearing in this

22   matter.

23        The parties stipulate and agree that the sentencing hearing
24   in this case should be continued from December 12, 2011 at 9:30
25   a.m. to   February 21, 2012 at 9:30 a.m.
26
27
28                                        1
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 1        The reason for this stipulation is as follows:
 2        1.     Mr. Hernandez has a serious apnea condition for which
 3   he is obtaining treatment and receiving a treatment machine so
 4
     that he can be healthy and avoid potentially very serious health
 5
     threatening conditions while incarcerated.        His next appointment
 6
     is on January 19, 2012 in order to complete his treatment.
 7
          2.     Three of the other defendants in this matter are
 8
     scheduled to be sentenced, respectfully, on January 9, 2012,
 9
10   January 23, 2012, and January 30, 2012.

11        IT IS SO STIPULATED.
                                             BENJAMIN B. WAGNER
12                                           United States Attorney
13
     DATED: December 8, 2011              By:/s/Michael M. Beckwith
14                                           MICHAEL M. BECKWITH
15                                           Assistant U.S. Attorney

16                                           Attorneys for Plaintiff

17
     DATED: December 8, 2011              By:/s/David J. Cohen
18                                           DAVID J. COHEN
19                                           Attorneys for Defendant
                                             ALEX HERNANDEZ
20
21
          IT IS SO ORDERED.
22
23
     DATED:    December 9, 2011
24
25
26
27
28                                       2
